Case 2:23-cr-00599-MCS   Document 173-2 Filed 08/06/24   Page 1 of 4 Page ID
                                  #:3686




                         Exhibit 2
  Case
   Case1:23-cr-00061-MN
        2:23-cr-00599-MCSDocument
                            Document
                                  184-1
                                     173-2
                                         Filed Filed
                                               05/28/24
                                                     08/06/24
                                                          Page 1Page
                                                                 of 342PageID
                                                                        of 4 Page
                                                                              #: 2910
                                                                                  ID
                                      #:3687

                                                                                              1901 L Street, N.W.
                                                                                           Washington, D.C. 20036
                                                                                                 +1 202-282-5000
                                                                                                 +1 202-282-5100




                                                                                       ABBE DAVID LOWELL
                                                                                                          Partner
                                                                                                    202-282-5000

                                              May 26, 2024


VIA E-MAIL

Leo J. Wise, Esq.
Derek E. Hines, Esq.
Special Assistant United States Attorneys
Office of the Special Counsel
1313 North Market Street
Wilmington, DE 19801

       Re:      United States v. Robert Hunter Biden, No. 23-cr-00061-MN (D. Del.)

Dear Counsel:

        We write to follow up on our May 17, 2024 and May 21, 2024 expert disclosure notices. As stated
in our previous letters, this disclosure is not intended to, and expressly does not, concede the relevance or
admissibility of the government’s proffered expert testimony.




                                              Sincerely,



                                              Abbe David Lowell


cc:    Christopher D. Man, Esq.
       Bartholomew Dalton, Esq.
       David Kolansky, Esq.
Case
 Case1:23-cr-00061-MN
      2:23-cr-00599-MCSDocument
                          Document
                                184-1
                                   173-2
                                       Filed Filed
                                             05/28/24
                                                   08/06/24
                                                        Page 2Page
                                                               of 343PageID
                                                                      of 4 Page
                                                                            #: 2911
                                                                                ID
                                    #:3688



I. Opinions, Bases, and Reasons
       Pursuant to defendant’s obligations under Federal Rule of Criminal Procedure 16(b), the
following is a complete statement of all opinions Mr. Biden intends to elicit from Dr. Elie G. Aoun,
M.D., M.R.O., in his case in chief and the bases and reasons for them. Dr. Aoun may also offer
testimony in response to government experts.

        Dr. Aoun is an assistant professor of clinical psychiatry at Columbia University and
practicing general, addiction, and forensic psychiatrist. Based on his training, experience,
treatment of thousands patients with drug and alcohol abuse issues over 10 years and review of
evidence in discovery (including Mr. Biden’s the text message communications provided by the
government in discovery, Mr. Biden’s memoir, interview memos of potential government
witnesses also provided in discovery), Dr. Aoun is expected to testify regarding (a) the various
manifestations and characterological traits associated with drug and alcohol use of people in
general and Mr. Biden’s in specific, as well as the language used to describe it; (b) an individual's
state of denial about their own substance use disorder is one of the most common characteristics
of substance use disorders; (c) the various clinical traits, including those seen in high-functioning
professionals with active drug or alcohol use contributing to that person in general (and what it
appears to be the same for Mr. Biden’s) view that they are not addicted; (d) the effects and impacts
of rehabilitation, therapy, and other types of treatment programs on affected individuals and their
efforts at achieving a state of recovery; (e) how the cyclical patterns of alcohol and drug use
followed by periods of recovery and rehabilitation also contributes to a user’s view of themselves
as not being addicted; (f) the effects and impacts of significant personal and family traumas on
persons with drug and alcohol use disorders; (g) the difference between the clinical or legal
understanding of the terms “controlled substance,” “addict,” and “substance abuse” differs from
the general public’s understanding of those same terms; (h) how a person’s interactions with their
loved ones changes after they develop a drug use disorder; and (i) the impact of addiction on traits
of character pathology.

       Dr. Aoun is expected to offer the following opinions:
   •   Individuals, like Mr. Biden, who have experienced significant personal trauma are at an
       increased risk of developing drug and alcohol use disorders.
   •   A state of denial is commonly observed in individuals with substance abuse disorder, such
       as Mr. Biden. Individuals, like Mr. Biden, who are high-functioning professionals often
       struggle to come to terms with their own addiction.
   •   Individuals, like Mr. Biden, who have spent time in rehabilitation programs may view
       themselves as no longer being “addicts” under the term’s general understanding. The terms
       “addict” and “user” do not have a universal clinical or scientific definition in medicine.
   •   The lay understanding of the term “controlled substance” is prescription medications with
       addictive potential, while the academic and clinical definition relates to the Controlled
       Substance Act and refers to chemical compounds (including prescription medications and
       illicit drugs) with addictive properties.
   •   The cycles of sobriety, recovery, and rehabilitation also impact a substance abuser’s view
       that they are not “addicts” at any given time.
Case
 Case1:23-cr-00061-MN
      2:23-cr-00599-MCSDocument
                          Document
                                184-1
                                   173-2
                                       Filed Filed
                                             05/28/24
                                                   08/06/24
                                                        Page 3Page
                                                               of 344PageID
                                                                      of 4 Page
                                                                            #: 2912
                                                                                ID
                                    #:3689



   •   Certain of Mr. Biden’s communications are consistent with traits of character pathology,
       which can be spurred or heightened by periods of intense stress, trauma, and drug or alcohol
       use.
   •   Family members of persons with substance use disorders typically continue to question a
       person’s sobriety, even when they actually are not using drugs, creating an atmosphere of
       distrust, and further compromising the person’s recovery.

II. Qualifications and Cases
         Dr. Aoun’s qualifications and publications for the previous ten years are contained in his
curriculum vitae, previously produced on May 21, 2024. To the best of Dr. Aoun’s recollection,
his testimony as an expert at trial or by deposition is identified in his forensic testimony case log,
also previously produced on May 23, 2024. We reattach both documents here for ease of reference.




Date: May 26, 2024                             Approved By: ___________________________
                                                            Dr. Elie Aoun
